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MEMO ENDORSED
                                            THE CITY OF NEW YORK
JAMES E. JOHNSON                            LAW DEPARTMENT                                    LOUISE A. MOED
Corporation Counsel                             100 CHURCH STREET                           Phone: (212) 356-2180
                                                NEW YORK, NY 10007
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                                                                                         LMOED@LAW.NYC.GOV

                                                                     November 6, 2020

        The Honorable Katherine Polk Failla
        United States District Judge
        Southern District of New York                by ECF and
        40 Foley Square                              email to Failla_nysdchambers@nysd.uscourts.gov
        New York, NY 10007

                                      Re:     Skorupska v. 525 West 52 Property Owner, LLC, etc.
                                              20-cv-2831 (KPF)
                                              request for rescheduling of March 24, 2021 pre-trial
                                              conference
        Dear Judge Failla:

                      I am the Assistant Corporation Counsel in the office of James E. Johnson,
        Corporation Counsel of the City of New York, who is representing defendant the City of New
        York (the “City”) in the above-referenced case.

                       I write to request that the March 24, 2021 pre-trial conference that was noticed in
        this Court’s October 14, 2020 Order be rescheduled. I already have plans to be out of the office
        Friday, March 19 through Monday, April 5, 2021.

                      The City has made one prior request for the rescheduling of the initial pre-trial
        conference, which conflicted with my then-existing plans to be out of the office on September
        25, 2020.

                       Counsel for the private defendants and plaintiff pro se both consent to my request
        that the conference be rescheduled, preferably to a date in April. I request that the date be no
        earlier than April 12. Counsel pro bono for plaintiff has informed me that the pre-trial
        conference is beyond the scope of her limited appearance.
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                Thank you for your consideration.

                                                              Respectfully submitted,



                                                              LMOED@LAW.NYC.GOV

  cc:    Bernadette Skorupska, plaintiff pro se, with her consent by email:
         bmskorupska@gmail.com
         Christina Barreiro, pro bono deposition counsel for plaintiff pro se, by email:
         cbarreiro@cravath.com
         James Robert Pigott, attorney for the private defendants, by ECF



Application GRANTED. The conference scheduled for March 24, 2021, is
hereby ADJOURNED to April 14, 2021, at 10:00 a.m.

The Clerk of Court is directed to mail a copy of this endorsement to
Plaintiff's address of record.



Dated:   November 9, 2020                          SO ORDERED.
         New York, New York



                                                   HON. KATHERINE POLK FAILLA
                                                   UNITED STATES DISTRICT JUDGE




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